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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

Randall Carpenter,

       Plaintiff,

               v.                                        Case Number: 1:14cv451


Convergent Outsourcing, Inc.,

       Defendant.

                                         ORDER

       The Court upon a review of the record notes that the above styled case was

erroneously filed in the Southern District of Ohio, Western Division at Cincinnati.

       Pursuant to Local Rule 82.1 this case is hereby TRANSFERRED to the Eastern

Division at Columbus of the Southern District of Ohio.

       IT IS SO ORDERED.



                                                     s/Michael R. Barrett
                                                 Michael R. Barrett
                                                 United States District Judge
